Stephen R. Harris, Esq.
Tharvis Law Practice LLC
6353 Lakeside Drive
Suite 2100
Rena, NV 89511

i] oo ~I on un f te ho _

Peete et eh et et
Nw =e © © CO SDR tw B&B WB Re OS

23

 

 

Case 19-51146-btb Doci12 Entered 10/09/19 17:20:28 Page1of2

STEPHEN R. HARRIS, ESQ.
Nevada Bar No. 001463

HARRIS LAW PRACTICE LLC
6151 Lakeside Drive, Suite 2100
Reno, NV 89511

Telephone: (775) 786-7600
E-Mail: steve@harrislawreno.com
Proposed Attorneys for Debtor

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

ae as Se eae

IN RE: CASE NO. 19-51146-btb

(Chapter 11)

MECHANICAL TECHNOLOGIES CORP.

dba ALPINE AIR, DECLARATION OF PROPOSED
ATTORNEY TO BE EMPLOYED UNDER
GENERAL RETAINER
{HARRIS LAW PRACTICE LLC]

Hrg. Date: N/A
Debtor. Hrg. Time: N/A

 

I, STEPHEN R. HARRIS, do hereby swear under the penalty of perjury that the assertions
of this Declaration are true.

i, 1am an attorney-at-law admitted to practice before this Court and am an attorney
with the law firm of HARRIS LAW PRACTICE LLC, which law firm maintains offices at 6151
Lakeside Drive, Suite 2100, Reno, Nevada 89511.

2. Neither |, the firm of HARRIS LAW PRACTICE LLC, nor any member or
associate thereof, insofar as I have been able to ascertain, has any connection with the Debtor
herein, its creditors, or any other party in interest, or their respective attorneys and accountants,
the United States Trustee, or any person in the office of the United States Trustee.

3. Neither I, the firm of HARRIS LAW PRACTICE LLC, nor any member or

associate thereof, insofar as I have been able to ascertam, represent any interest adverse to that of

 
Stephen . Harzis, Esq.

Harzis Law Practice LLC

6151 Lakeside Drive
Suite 2700
Reng, NV 89511

Oo oF ~F OE te OR OND ee

mR hm BO hm BR BRD RO IR Reet eer rr ment feemt el
CO ~}F ce Ul £& Ww Be OG Oo c8F 4 DR tA SB ONO UO

 

 

Case 19-51146-btb Doci12 Entered 10/09/19 17:20:28 Page 2of2

the estate of the Debtor.

4. Based on the foregoing, I believe that STEPHEN R. HARRIS, ESQ. and the
members and associates of the law firm, HARRIS LAW PRACTICE LLC, are “disinterested
person(s)” within the meaning of Sections 101(14) and 327 of the Bankruptcy Code.

DATED this 9" day of October, 2019.

   

 

Proposed Attorneys fo; Debtor

 
